
DIANA GRIBBON MOTZ,
concurring in the judgment:
For the following reasons, I agree with my colleagues that 11 U.S.C. § 523(a)(2)(A) (2000) does not render Rountree’s debt to Nunnery nondischargable.
Section 523(a)(2)(A) provides that the bankruptcy code “does not discharge an individual debtor from any debt — ... for money, property, services, or an extension, renewal, or refinancing of credit, to the extent obtained by — false pretenses, a false representation, or actual fraud” (emphasis added). The statute does not render Rountree’s debt to Nunnery nondischargable because Nunnery has not demonstrated that the debt was “obtained by” fraud.
To be sure, Rountree apparently made misrepresentations in Nunnery’s tort suit. But, as the district court noted, it “is impossible to determine with any degree of certainty” that Nunnery would have won the tort case absent Rountree’s misrepresentations. Although Nunnery later obtained an award against Rountree for emotional damages to her resulting from Rountree’s misrepresentations, Nunnery never claimed, let alone proved, that she lost the tort action because of Rountree’s fraud. Thus, Nunnery has not met the § 523(a)(2)(A) requirement that “the debt- or’s fraud must result in a loss of property to the creditor.” Collier on Bankruptcy, ¶ 523.08[1][a] (15th ed., rev.2004).
